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                           CASE NO. 23-90013

           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

                    NEXPOINT ADVISORS, L.P. and
   HIGHLAND CAPITAL MANAGEMENT FUND ADVISORS, L.P.,

                               APPELLANTS
                                        v.
             HIGHLAND CAPITAL MANAGEMENT, L.P.
                                   APPELLEE

         ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT
         FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION
              BANKRUPTCY CASE NO. 19-34054 (SGJ11)

 APPEAL PENDING AS CIVIL ACTION NO. 3:23-CV-00573 IN THE UNITED STATES
DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS DIVISION

            CREDITOR DISCLOSURE STATEMENT

                  MUNSCH HARDT KOPF & HARR, P.C.

                             Davor Rukavina
                       Texas Bar No. 24030781
                       500 North Akard Street
                              Suite 3800
                       Dallas, Texas 75201-6659
                      Telephone: (214) 855-7500
                      Facsimile: (214) 855-7584
                     Email: drukavina@munsch.com

                  ATTORNEYS FOR THE APPELLANTS


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      NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors,

L.P. n/k/a NexPoint Asset Management, L.P., the petitions/appellants herein, hereby

respond to the Clerk’s directive of April 27, 2023 as follows:

1.    The Debtor:

      Highland Capital Management, L.P.

             Represented by:

             PACHULSKI STANG ZIEHL & JONES LLP
             Jeffrey N. Pomerantz
             John A. Morris
             10100 Santa Monica Blvd., 13th Floor
             Los Angeles, CA 90067
             Telephone: (310) 277-6910
             Facsimile: (310) 201-0760

             -- and –

             HAYWARD PLLC
             Melissa S. Hayward
             10501 N. Central Expy, Ste. 106
             Dallas, Texas 75231
             Tel: (972) 755-7100
             Facsimile: (972) 755-7110

2.    Creditor Committee Members:

      None (Official Committee of Unsecured Creditors has been dissolved)

      Former Members:

      Redeemer Committee of Highland Crusader Fund
      Meta-e Discovery
      UBS Securities LLC and UBS AG London Branch
      Acis Capital Management, L.P.
                                          1
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     Acis Capital Management GP, LLP

            Formerly Represented By:

            SIDLEY AUSTIN LLP
            Penny P. Reid
            Paige Holden Montgomery
            Juliana L. Hoffman
            2021 McKinney Avenue
            Suite 2000
            Dallas, Texas 74201
            Telephone: (214) 981-3300
            Facsimile: (214) 981-3400

            Matthew A. Clemente
            Dennis M. Twomey
            Alyssa Russell
            One South Dearborn Street
            Chicago, Illinois 60603
            Telephone: (312) 853-7000
            Facsimile: (312) 853-7036

3.   Any Entity That Is An Active Participant In the Proceeding:

     None (other than appellants and debtor)

4.   Any Other Entity Known to the Declarant Whose Stock or Equity Value
     Could Be Substantially Affected by the Outcome of this Proceeding:

     None




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         RESPECTFULLY SUBMITTED this 9th day of May, 2023.

                                            MUNSCH HARDT KOPF & HARR, P.C.

                                            By: /s/ Davor Rukavina
                                                Davor Rukavina, Esq.
                                                Texas Bar No. 24030781
                                                500 North Akard Street, Suite 3800
                                                Dallas, Texas 75201-6659
                                                Telephone: (214) 855-7500
                                                Facsimile: (214) 855-7584
                                                Email: drukavina@munsch.com


                                            ATTORNEYS FOR THE APPELLANTS




                                 CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this the 9th day of May, 2023, a true
and correct copy of this document was electronically served by the Court’s ECF
system on counsel for the appellee/respondent:

         Jeffrey Pomerantz (jpomerantz@pszjlaw.com)


                                                      /s/ Davor Rukavina
                                                      Davor Rukavina, Esq.




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